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                                                                   HLED
                       UNITED STATES DISTRICT COURT                jam \]2019
                         DISTRICT OF SOUTH DAKOTA
                              SOUTHERN DIVISION




In the matter of a subpoena issued with        No.: ^     ^ ^
 regard to
                                               REDACTED SEALED
 19-004-04                                     APPLICATION



      The United States, through Assistant United States Attorney Jeffrey C.

Clapper, for the District of South Dakota, hereby applies to the Court pursuant

to 18 U.S.C. § 2705(b) for an order prohibiting Google, Inc., located at 1600

Amphitheatre Parkway, Mountain View, CA 94043, which functions as an

electronic communications service provider, from notifying any person, including

the subscriber, of the existence of a subpoena to ,Google, Inc., that requests

subscriber information related to email accounts:




      In support of this application, I affirm the following:

                     FACTUAL AND LEGAL BACKGROUND


      1.     The Department of Homeland Security, Homeland Security

Investigations ("HSI") is currently investigating violations of 18 U.S.C. § 2252

relating to the possession, distribution and receipt of child pornography.

      2.     Based on the investigation of this criminal activity, there are

reasonable grounds to believe that Google, Inc. has records and other

information that are relevant and material to the ongoing criminal investigation
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described above.


      3.    Section 2703 of Titie 18, United States Code, provides instruction

on access to the records and other information in the possession of providers of

"electronic communications services" and/or "remote computing services."

Google, Inc. functions         both   as an   electronic   communications   service

provider — that is, Google, Inc. provides its subscribers with access to electronic

communication services, -and as a remote computing service provider providing

computer facilities for the storage and processing of electronic communications

as those terms are used in 18 U.S.C. § 2703.

      4.    Here, pursuant to 18 U.S.C. § 2703(e)(2), the government seeks to

obtain the following basic subscriber information:

            (a)    name;

            (b)    address;

            (c)    local and long distance telephone connection records, or
                   records of session times and durations;

            (d)    length of service (including start date) and types of service
                   utilized;

            (e)    telephone or instrument number or other subscriber number
                   or identity, including any temporarily assigned network
                   address; and

            (f)    means and source of payment for such service (including any
                   credit card or bank account number).

      5.    According to 18 U.S.C.§ 2703(e)(3), a governmental agency receiving

records or information under 18 U.S.C. § 2703(c)(2) is not required to provide

notice to a subscriber or customer.
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      6.    Pursuant to 18 U.S.C. § 2705(b), the Court may issue an order

commanding a provider of electronic communications services or remote

computing services that has been served with a subpoena or summons in

accordance with 18 U.S.C. § 2703, to not notify the subscriber, customer or any

other person of the existence of the subpoena, summons or court order.

      7.    Also pursuant to 18 U.S.C. § 2705(b), the Court shall enter such an

order if it determines that there is reason to believe that notification of the


existence of the subpoena will result in (1) endangering the life or physical safety

of an individual; (2) flight from prosecution; (3) destruction of or tampering with

evidence; (4) intimidation of potential witnesses; or (5) otherwise seriously

jeopardizing an investigation or unduly delaying a trial.

      8.    Accordingly, this application sets forth the facts showing that there

are reasonable grounds to believe that the records and information sought are

relevant and material to the ongoing criminal investigation described above and

that an order prohibiting the disclosure of the subpoena or summons and

request for information is warranted under the circumstances.

                             THE RELEVANT FACTS


      9.    Homeland Security Investigations is conducting an investigation of

suspects     who     are    identified   as     using    the    email     accounts



conjunction with identified Facebook accounts to distribute and receive child

pornography. The email accounts were identified by Facebook in a CyberTipline

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report provided to the National Center for Missing and Exploited Children and

forwarded to law enforcement offleials.


      10.   For the purposes of the ongoing investigation, the Government seeks

to obtain basic subscriber-information of the requested account associated with

the suspect.

      11.   It is requested that this Application and Order be sealed by the Court

for 90 days, or as the Court directs otherwise. Given the confidential nature of

this investigation, disclosure would severely jeopardize the investigation in that

it might alert the target of the investigation to the existence of an investigation

and likely lead to the destruction and concealment of evidence, and/or flight.

      12.   It is further requested that pursuant to the preclusion of notice

provisions of 18 U.S.C. § 2705(b), that Google, Inc. be ordered not to notify any

person (including the subscribers or customers to which the materials relate) of

the existence of this order or a Grand Juiy subpoena until further order of the

Court.   The Government submits that such an order is justified because

notification of the existence of this order could seriously jeopardize the ongoing

investigation. Such a disclosure could give the subscribers an opportunity to

destroy evidence, notify confederates, or cause people to flee or continue to flee

from prosecution.

      WHEREFORE, it is respectfully requested that the Court grant the

attached Order (1) directing that the Application and Order be sealed; and (2)

directing Google, Inc. not to disclose the existence or content of the Order, the

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application, or the Grand Jury subpoena, except to the extent necessary to

comply with the Grand Jury subpoena.

     Dated this         of January, 2019.

                                  RONALD A. PARSONS, JR.
                                  United States Attorney




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